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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   HUNTINGTON DIVISION


UNITED STATES OF AMERICA

v.                                                    CRIMINAL ACTION NO. 3:22-00087

ALEX KAI TICK CHIN


                                              ORDER


       By Order of March 24, 2023, the Court granted Defendant’s Motion to Continue Trial to

allow Defendant’s counsel, who was recently retained to represent the defendant, additional time

to review discovery materials and formulate a plan to aid in Defendant’s defense. The requested

delay is not attributable to lack of diligent preparation, failure to obtain evidence or witnesses, or

congestion of the Court’s calendar.

       Believing that the ends of justice served by granting a continuance outweigh the best

interest of the public and the defendant in a speedy trial, the Court ORDERS as follows. Trial will

begin on June 21, 2023, at 8:30 a.m. in Huntington. Proposed voir dire, jury instructions, and

witness lists are now due on June 13, 2023. All pretrial motions will now be due no later than

May 1, 2023. The pretrial motions hearing will now be held on May 15, 2023, at 10:00 a.m. in

Huntington. The Court FINDS that the time between April 4, 2023, and June 21, 2023, is

excludable from the computation of time within which trial must commence, pursuant to 18 U.S.C.

§§ 3161(h)(7)(A) and 3161(h)(7)(B)(iv).
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       The Court DIRECTS the Clerk to send a copy of this Order to counsel and the defendant,

the United States Attorney’s Office, the United States Probation Office, and the United States

Marshals Service.

                                           ENTER:        March 28, 2023




                                           ROBERT C. CHAMBERS
                                           UNITED STATES DISTRICT JUDGE




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